Case 1:21-cr-00222-TFH Document 18-2 Filed 04/20/21 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA
ATTORNEY DECLARATION
— against —
JULIAN ELIE KHATER, Docket No. 21-CR-00222 (TFH)
Defendant.
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CHAD SEIGEL, ESQ., an attorney duly admitted pro hac vice to practice in this Court,
hereby declares the following to be true under penalty of perjury:

I. Iam a partner at Tacopina Seigel & DeOreo, counsel for Julian Khater, the
defendant in this prosecution and, as such, am fully familiar with the facts and circumstances
made in support of the instant motion.

2. This declaration is offered in support of defendant Julian Khater’s motion
for an Order granting his pretrial release, pursuant to 18 U.S.C. § 3142.

3, Defense counsel has received 18 letters from family members, a family friend,
and a former co-worker of defendant Julian Khater, attesting to his upstanding history and
characteristics. True and accurate copies of those letters are annexed hereto as Exhibits A
through R.

4. In addition, annexed hereto as Exhibit S are true and correct copies of orders
and/or appearance bonds relating to defendants who were charged in connection with the

January 6" Capitol riot and released on bail.
Case 1:21-cr-00222-TFH Document 18-2 Filed 04/20/21 Page 2 of 2

WHEREFORE, for the reasons set forth in the accompanying memorandum of law, your
declarant respectfully prays that an Order be entered granting the relief sought in the instant

Motion, together with such other and further relief as this Court may deem just and proper.

Dated: New York. New York
April 20, 2021

 

Tacopina Seigel & DeOreo

Attorneys for Defendant Julian Khater
275 Madison Avenue, 35" Floor

New York, N.Y. 10016

Tel: (212) 227-8877
